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04/05/2019 09:07 AM CDT




                                                       - 720 -
                                  Nebraska Supreme Court A dvance Sheets
                                          302 Nebraska R eports
                                               BECHER v. BECHER
                                               Cite as 302 Neb. 720



                                        Sonia Becher, appellant, v.
                                        M ark A. Becher, appellee.
                                                  ___ N.W.2d ___

                                        Filed March 29, 2019.    No. S-18-608.

                1.	 Jurisdiction: Appeal and Error. A jurisdictional question which does
                    not involve a factual dispute is determined by an appellate court as a
                    matter of law, which requires the appellate court to reach a conclusion
                    independent of the lower court’s decision.
                2.	 ____: ____. Before reaching the legal issues presented for review, an
                    appellate court must determine whether it has jurisdiction.
                3.	 Courts: Jurisdiction. While it is not a constitutional prerequisite for
                    jurisdiction, the existence of an actual case or controversy is necessary
                    for the exercise of judicial power.
                4.	 Actions: Moot Question. An action becomes moot when the issues
                    initially presented in the proceedings no longer exist or the parties lack
                    a legally cognizable interest in the outcome of the action.
                5.	 Moot Question: Words and Phrases. A moot case is one which seeks
                    to determine a question that no longer rests upon existing facts or
                    rights—i.e., a case in which the issues presented are no longer alive.
                6.	 Moot Question. Mootness refers to events occurring after the filing of
                    a suit which eradicate the requisite personal interest in the resolution of
                    the dispute that existed at the beginning of the litigation.
                7.	 Moot Question: Jurisdiction: Appeal and Error. Although mootness
                    does not prevent appellate jurisdiction, it is a justiciability doctrine that
                    can prevent courts from exercising jurisdiction.
                8.	 Moot Question. As a general rule, a moot case is subject to sum-
                    mary dismissal.
                9.	 Jurisdiction: Appeal and Error. Generally, once an appeal is perfected,
                    the trial court no longer has jurisdiction until a mandate issues.
               10.	 Jurisdiction: Child Custody: Visitation: Appeal and Error. Under
                    Neb. Rev. Stat. § 42-351(2) (Reissue 2016), a trial court may retain
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             Nebraska Supreme Court A dvance Sheets
                     302 Nebraska R eports
                            BECHER v. BECHER
                            Cite as 302 Neb. 720
     jurisdiction to provide for an order concerning custody and parenting
     time even while an appeal of one of its orders is pending.
11.	 Jurisdiction: Minors: Final Orders: Appeal and Error. Neb. Rev.
     Stat. § 42-351(2) (Reissue 2016) does not grant a trial court authority
     to hear and determine anew the very issues then pending on appeal and
     to enter permanent orders addressing these issues during the appeal
     process.

  Appeal from the District Court for Lancaster County: K evin
R. McM anaman, Judge. Vacated and dismissed.

  Sally A. Rasmussen, of Mattson Ricketts Law Firm, for
appellant.

   David P. Kyker and Bradley A. Sipp for appellee.

  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.

   Funke, J.
   Sonia Becher and Mark A. Becher were divorced by decree
in 2015. The parenting plan ordered by the court established
a parenting time schedule for only one of the parties’ three
children. In 2018, while an appeal from the dissolution decree
was pending in this court, Mark filed a motion seeking to
establish parenting time and telephone communication with
one of the other children. The court granted that motion, and
Sonia appeals. For the reasons set forth herein, we vacate
and dismiss.

                       BACKGROUND
   Sonia and Mark were married in December 1991 and had
three children: Daniel Becher, born in 2000; Cristina Becher,
born in 2002; and Susana Becher, born in 2008. Sonia and
Mark were divorced in 2015 after an exceptionally contentious
dissolution proceeding.
   Mark appealed, and Sonia cross-appealed the 2015 dissolu-
tion decree. Both parties, in part, assigned the district court
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                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                              BECHER v. BECHER
                              Cite as 302 Neb. 720
erred in its ordering of the custodial arrangement and the award
of parenting time. The court’s decree ordered what it described
as a “split and joint” custody arrangement. We described the
arrangement in Becher v. Becher (Becher I )1:
         The district court found that a split and joint custody
      arrangement with [a] parenting plan designed to reduce
      potential conflicts was in the best interests of the children.
      In its decree, the court ordered that Sonia have permanent
      legal and physical care, custody, and control of the par-
      ties’ two daughters, while Mark have permanent legal
      and physical care, custody, and control of the parties’ son
      with each “subject to the rights of parenting time for the
      noncustodial parent as set forth in the parenting plan.”
      However, the court-ordered parenting plan provided that
      the parties would share joint legal custody of all three
      children, with Mark having primary physical custody of
      the parties’ son, Sonia having primary physical custody
      of the parties’ oldest daughter, and shared joint physi-
      cal custody of the parties’ youngest daughter. . . . [T]he
      court-ordered parenting plan did not provide a parenting
      schedule for the two oldest children. It did provide a joint
      physical custody arrangement for the youngest child with
      Mark and Sonia having equal parenting time on alternat-
      ing weeks.
We concluded the district court had not abused its discre-
tion in entering this parenting plan and found the provisions
of the decree adequately set forth each party’s rights and
responsibilities.2
   Relevant to the issues raised in the present appeal, the
parenting plan gave the following rationale for not establish-
ing a parenting time schedule for the two older children,
and expressly contemplated future modification to address
the issue.

 1	
      Becher v. Becher, 299 Neb. 206, 224, 908 N.W.2d 12, 28 (2018).
 2	
      Id.                                      - 723 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                                BECHER v. BECHER
                                Cite as 302 Neb. 720
     Regular Monthly Parenting Time with Daniel and Cristina:
     Based upon the recommendations of George Williams,
     PhD., the Court determines that it is in the best interests
     of Daniel and Cristina . . . that no set parenting time
     schedule be established at this time. This is because of
     the significant conflict that still exists between these chil-
     dren and their non-custodial parent. Until such time as
     counseling with the family has resolved at least some of
     these issues, Dr. Williams believes a required parenting
     schedule would be inappropriate and perhaps detrimental.
     Both parties have agreed to voluntarily continue counsel-
     ing with Dr. Williams and involve the children as may be
     necessary in order to reduce family conflict before a set
     schedule with respect to these two children is established.
     This parenting plan will need to be modified at some point
     in the future to include specific parenting time with these
     children, on a regular monthly basis, during the summer
     and on holidays. Except for summer parenting time, spe-
     cific parenting time only involves Susana at this time.
As to communications between the parents and children during
specified summer parenting time, the parenting plan stated:
     [D]uring the summer parenting time for each parent the
     parent who is not exercising parenting time is to have
     no communication of any nature with their children.
     They are not to attempt to contact their children in any
     fashion during the other parent summer parenting time.
     Additionally, the parent not having parenting time is
     not to accept or respond to any attempt by any child to
     communicate with them. In the event of an emergency
     of any nature during the summer parenting time, Mother
     and Father may communicate with each other to address
     the emergency.
   Becher I was released March 9, 2018, and the mandate
issued on July 13, 2018.3

 3	
      Becher I, supra note 1.
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           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
                        BECHER v. BECHER
                        Cite as 302 Neb. 720
   After Becher I was released but before the mandate was
issued, Mark filed a motion in the district court on June 8,
2018, seeking to establish specific parenting time and tele-
phone contact with Cristina. On June 11, Mark amended his
motion to add a sentence to the notice of hearing purporting to
provide that “[t]he hearing will be by affidavit.” Both motions
were e-filed with the court and directed to Sonia’s attorney by
U.S. mail.
   Neither motion was styled as a complaint to modify the
decree, and it does not appear from the record that either
motion was served on Sonia personally, nor was a praecipe for
summons ever requested.
   On June 14, 2018, a hearing was held on the amended
motion. Sonia did not appear personally or through counsel.
Mark also did not personally appear but was represented by
counsel. Mark’s affidavit was received as an exhibit. In it,
he averred he had not had meaningful contact with Cristina
since the entry of the decree and all telephone contact had to
go through Sonia. Mark sought specific parenting time to take
Cristina on a summer vacation in June 2018 and asked to pur-
chase a cell phone to communicate directly with Cristina with-
out having to go through Sonia. At the hearing, Mark’s counsel
indicated that the motion was made pursuant to Neb. Rev. Stat.
§ 42-351 (Reissue 2016) to enable the court to consider the
issue of custody and parenting time before the mandate of the
initial appeal issued.
   The same day as the hearing, the district court entered an
order providing, in full:
          1. [Mark] may, at his sole expense, provide a cellu-
      lar telephone for the minor child of the parties, Cristina
      . . . . While [Sonia] may restrict use of the cellular tele-
      phone, [Sonia] may not restrict any contact or communi-
      cation between [Mark] and Cristina . . . through the use
      of the cellular phone.
          2. [Mark] may have parenting time with Cristina dur-
      ing the week of June 19, 2018[,] at 9:00 a.m. to June 26,
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                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                               BECHER v. BECHER
                               Cite as 302 Neb. 720
      2018[,] at 9:00 a.m. [Mark] shall be responsible for all
      transportation necessary to effect parenting time with his
      daughter during this time.
   The order was prepared by Mark’s counsel. The order did
not construe the motion as a complaint to modify, nor did
the order purport to modify the decree or the court-ordered
parenting plan. However, neither did the order indicate it
was pursuant to § 42-351 nor that it was a temporary order.
To the extent the order allowed specific parenting time for
Mark, it was limited to 1 week in June 2018. The telephone
parenting time authorized by the order contained no tempo-
ral limit.

                 ASSIGNMENTS OF ERROR
   Sonia assigns, restated, that the district court erred in (1)
modifying the decree while an appeal of the decree was pend-
ing, (2) exercising jurisdiction although Sonia had not been
properly served, (3) failing to find Sonia was denied procedural
due process, and (4) modifying the parties’ parenting time
without a showing of a material change in circumstances.

                   STANDARD OF REVIEW
   [1] A jurisdictional question which does not involve a fac-
tual dispute is determined by an appellate court as a matter of
law, which requires the appellate court to reach a conclusion
independent of the lower court’s decision.4

                         ANALYSIS
  [2,3] Before reaching the legal issues presented for review,
an appellate court must determine whether it has jurisdiction.5
While it is not a constitutional prerequisite for jurisdiction,

 4	
      In re Grand Jury of Douglas Cty., ante p. 128, 922 N.W.2d 226 (2019);
      Jennifer T. v. Lindsay P., 298 Neb. 800, 906 N.W.2d 49 (2018).
 5	
      See, In re Grand Jury of Douglas Cty., supra note 4; Nesbitt v. Frakes, 300
      Neb. 1, 911 N.W.2d 598 (2018).
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                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                               BECHER v. BECHER
                               Cite as 302 Neb. 720
the existence of an actual case or controversy is necessary for
the exercise of judicial power.6
   [4-8] We first note the time period granted to Mark for the
specific summer parenting time with Cristina has passed. An
action becomes moot when the issues initially presented in
the proceedings no longer exist or the parties lack a legally
cognizable interest in the outcome of the action.7 A moot case
is one which seeks to determine a question that no longer
rests upon existing facts or rights—i.e., a case in which the
issues presented are no longer alive.8 Mootness refers to events
occurring after the filing of a suit which eradicate the requisite
personal interest in the resolution of the dispute that existed at
the beginning of the litigation.9 Although mootness does not
prevent appellate jurisdiction, it is a justiciability doctrine that
can prevent courts from exercising jurisdiction.10 As a general
rule, a moot case is subject to summary dismissal.11
   On this point, the order stated that Mark “may have parent-
ing time with Cristina during the week of June 19, 2018[,] at
9:00 a.m. to June 26, 2018[,] at 9:00 a.m.” Because this period
has passed and the order does not provide Mark a continuing
summer parenting time schedule, the assigned errors concern-
ing the order’s grant of specific summer 2018 parenting time
are moot.
   Taking this limitation into account, we turn to Sonia’s
assignment that the district court erred in modifying the decree
by allowing Mark to provide Cristina a cell phone and have
unrestricted communication while an appeal of the decree
was pending. Mark, in turn, argues that the court retained

 6	
      Nesbitt, supra note 5.
 7	
      Id. 8	
      Id. 9	
      Id.10	
      Id.11	
      Id.                                    - 727 -
               Nebraska Supreme Court A dvance Sheets
                       302 Nebraska R eports
                              BECHER v. BECHER
                              Cite as 302 Neb. 720
jurisdiction to issue the order under § 42-351(2) and that such
order was implicitly temporary.
   [9,10] Generally, once an appeal is perfected, the trial court
no longer has jurisdiction until a mandate issues.12 However,
a trial court retains jurisdiction under § 42-351(2) for certain
matters. Section 42-351(2) provides:
      When final orders relating to proceedings governed by
      sections 42-347 to 42-381 are on appeal and such appeal
      is pending, the court that issued such orders shall retain
      jurisdiction to provide for such orders regarding support,
      custody, parenting time, visitation, or other access, orders
      shown to be necessary to allow the use of property or to
      prevent the irreparable harm to or loss of property during
      the pendency of such appeal, or other appropriate orders
      in aid of the appeal process. Such orders shall not be con-
      strued to prejudice any party on appeal.
Thus, a trial court may retain jurisdiction to provide for an
order concerning custody and parenting time even while an
appeal of one of its orders is pending.
   [11] Nevertheless, there is a limit on a trial court’s jurisdic-
tion to enter an order concerning an issue which is pending on
appeal.13 Section 42-351(2) does not grant a trial court author-
ity to hear and determine anew the very issues then pending on
appeal and to enter permanent orders addressing these issues
during the appeal process.14
   In the instant case, Mark’s motion sought to change the
decree and court-ordered parenting plan concerning custody
and parenting time even though those were issues pending on
appeal. In Becher I, the appeal of the dissolution decree, Sonia
and Mark both assigned errors related to the district court’s
award of custody and parenting time.15 During that appeal,

12	
      Burns v. Burns, 293 Neb. 633, 879 N.W.2d 375 (2016).
13	
      See id.14	
      Id.15	
      See Becher I, supra note 1.
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           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
                        BECHER v. BECHER
                        Cite as 302 Neb. 720
we considered the validity of the custodial arrangement and
award of parenting time, the interpretation of terminology used
concerning the custodial arrangement and award of parenting
time, and whether the decree was contradicted by the parenting
plan. The resolution of these issues on appeal potentially could
have had an effect on the summer parenting time explained in
the parenting plan which prohibited communication between
the parent not exercising the parenting time and the children.
Specifically, that section of the plan stated that “the parent who
is not exercising parenting time is to have no communication of
any nature with their children” and further explained that “the
parent not having parenting time is not to accept or respond to
any attempt by any child to communicate with them.”
   The order currently on appeal also addressed parent-child
communication. As between Mark and Cristina, the order
provided: “[Mark] may, at his sole expense, provide a cellular
telephone for . . . Cristina . . . . While [Sonia] may restrict use
of the cellular telephone, [Sonia] may not restrict any contact
or communication between [Mark] and Cristina . . . through
the use of the cellular phone.” This order did not limit the
contact between Mark and Cristina, including during those
times when Sonia would be exercising summer parenting time.
Instead, the order stated that Sonia could not act to restrict any
communication through the cell phone and permitted Mark
to contact Cristina without limitation. Such provision is at
odds with the section of the parenting plan governing sum-
mer parenting time, the review of which was still pending,
that explicitly stated the nonexercising parent is prohibited
from attempting communication with the children. As stated
above, this provision was included in the parenting plan sec-
tion governing custody and parenting time and was at issue in
the initial appeal. Mark filed his motion for specific parenting
time after the release of our opinion in Becher I, but before the
issuance of the mandate. Thus, at that point, the district court
did not have jurisdiction to enter a permanent order affecting
parenting time.
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           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
                       BECHER v. BECHER
                       Cite as 302 Neb. 720
   Mark argues that the district court retained jurisdiction,
because any order entered during the pendency of the initial
appeal was implicitly temporary and expired upon the issuing
of the mandate. Mark argues that as a temporary order, any
change of parenting time scheduling or communication would
not affect contradictory provisions of the decree on appeal,
because such modification would expire once the original
decree was affirmed, and that the original decree’s provisions
would control.
   However, Mark offers no support for such assertion and we
find none. The language of § 42-351(2) does not state that any
order issued through its operation is temporary. As a result,
we cannot say that an order is always temporary even if there
is no limiting language when the underlying motion seeks to
affect the rights of the parties while an appeal on those rights
is pending.
   Moreover, while Mark’s counsel mentioned the motion
was pursuant to § 42-351 during the hearing, Mark’s motion
and the district court’s order failed to indicate that it was a
§ 42-351(2) motion. The order issued by the court contained
no temporal limit, and Mark’s motion failed to describe that
it sought only a temporary order. As such, the court’s order
providing Mark the ability to communicate with Cristina
without restriction was not implicitly temporary and its issu-
ance conflicted with the decree’s provision on parent-child
communication.
   Because we find that during the pendency of the initial
appeal, the district court lacked jurisdiction to enter a perma-
nent order and erred in awarding Mark unrestrained cell phone
communication with Cristina, we need not address Sonia’s
remaining assignments.

                     CONCLUSION
  We conclude Sonia’s assignments concerning the award
of specific summer 2018 parenting time between Mark and
Cristina are moot, because the period during which the
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           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
                       BECHER v. BECHER
                       Cite as 302 Neb. 720
parenting time was awarded has passed. As such, these assign-
ments are dismissed. Regarding Sonia’s assignments concern-
ing the order awarding Mark unrestrained cell phone commu-
nication with Cristina, the district court lacked subject matter
jurisdiction during the appeal of the dissolution decree. As a
result, we vacate the order of the district court on this issue
and dismiss this appeal.
                                        Vacated and dismissed.
